Case: 1:14-cr-00564 Document #: 1 Filed: 10/06/14 Page 1 of 11 PageID #:1
Case: 1:14-cr-00564 Document #: 1 Filed: 10/06/14 Page 2 of 11 PageID #:2
Case: 1:14-cr-00564 Document #: 1 Filed: 10/06/14 Page 3 of 11 PageID #:3
Case: 1:14-cr-00564 Document #: 1 Filed: 10/06/14 Page 4 of 11 PageID #:4
Case: 1:14-cr-00564 Document #: 1 Filed: 10/06/14 Page 5 of 11 PageID #:5
Case: 1:14-cr-00564 Document #: 1 Filed: 10/06/14 Page 6 of 11 PageID #:6
Case: 1:14-cr-00564 Document #: 1 Filed: 10/06/14 Page 7 of 11 PageID #:7
Case: 1:14-cr-00564 Document #: 1 Filed: 10/06/14 Page 8 of 11 PageID #:8
Case: 1:14-cr-00564 Document #: 1 Filed: 10/06/14 Page 9 of 11 PageID #:9
Case: 1:14-cr-00564 Document #: 1 Filed: 10/06/14 Page 10 of 11 PageID #:10
Case: 1:14-cr-00564 Document #: 1 Filed: 10/06/14 Page 11 of 11 PageID #:11
